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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


 Montage Mortgage, LLC
         Plaintiff,
 vs.                                             Case No.: 3:17-cv-02971-B
 Pacific Union Financial, LLC, John
 Perry, Valerie Coleman, Caitlin V.
 Cooke, Eduardo Creque, Jessica M. Furr
 (Keen), Kathy Keller, Fouad Naghmi,
 Tammy Neal, Charles F. Peer,
 Michaelene Whyte, and Melissa Willoby,
         Defendants.


       PLAINTIFF MONTAGE MORTGAGE, LLC’S CORPORATE DISCLOSURE
           STATEMENT AND CERTIFICATE OF INTERESTED PERSONS

        Pursuant to Federal Rule of Civil Procedure 7.1, and Local Rule 81.2, Plaintiff Montage

Mortgage, LLC (“Montage”) is a Texas limited liability company with its principal place of

business in North Carolina. Montage is a non-public and privately held company. Montage

does not have any parent corporations or publicly held corporations owning 10% or more of

Montage’s stock.

        Montage concurs with the list of interested persons submitted by Defendant Pacific

Union, LLC (Dkt. No. 4), and hereby adopts it.




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Dated: November 6, 2017

                                        Respectfully submitted,

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                                        Attorneys for Montage Mortgage, LLC




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                              CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served upon all
parties and counsel of record via the Court’s CM/ECF mechanism, on this 6th day of
November 2017, as follows:

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 WILLOBY


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                                        /s/ Jason W. McElroy
                                  Jason W. McElroy




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